        Case
        Case:3:16-cv-02266-JST
              17-80080, 05/22/2018,
                                Document
                                    ID: 10882076,
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                   UNITED STATES COURT OF APPEALS                       FILED
                          FOR THE NINTH CIRCUIT                         MAY 22 2018
                                                                    MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
COLIN R. BRICKMAN, individually and            No.   17-80080
on behalf of a class of similarly situated
individuals,                                   D.C. No. 3:16-cv-00751-TEH
                                               Northern District of California,
               Plaintiff-Respondent,           San Francisco

UNITED STATES OF AMERICA,                      ORDER

               Intervenor-Respondent,

 v.

FACEBOOK, INC.,

               Defendant-Petitioner.


CHRISTINE HOLT, individually and on            No.   17-80086
behalf of all others similarly situated,
                                               D.C. No. 3:16-cv-02266-JST
               Plaintiff-Respondent,

UNITED STATES OF AMERICA,

               Intervenor-Respondent,

 v.

FACEBOOK, INC., a Delaware corporation,

               Defendant-Petitioner.

Before: W. FLETCHER and CALLAHAN, Circuit Judges.

      Resolution of these petitions for permission to appeal pursuant to 28 U.S.C.

FG/MOATT
         Case
         Case:3:16-cv-02266-JST
               17-80080, 05/22/2018,
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                                            97     DktEntry:
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§ 1292(b) was stayed pending a decision by the United States Court of Appeals for

the District of Columbia in ACA International v. Federal Communications

Commission, No. 15-1211. On March 16, 2018, the United States Court of

Appeals for the District of Columbia issued a decision in ACA International.

      We grant petitioner’s requests (Docket Entry No. 18 in petition No. 17-

80080 and Docket Entry No. 20 in petition No. 17-80086) to stay resolution of

these petitions for permission appeal pending the decision in Marks v. Crunch of

San Diego, No. 14-56834 (9th Cir.). Within 14 days after this court’s decision in

Marks, petitioner shall notify this court in writing and shall file a request for

appropriate relief.




FG/MOATT                                   2
